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13

14                              UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA

16

17   PEOPLE OF THE STATE OF CALIFORNIA,          Case No.
18                                  Plaintiff,   NOTICE OF REMOVAL OF ACTION
                                                 PURSUANT TO 28 U.S.C. §§ 1331, 1441, 1446
19                      vs.
20   CLUBCORP HOLDINGS, INC., CLUBCORP           [Removed from San Francisco Superior Court,
     CLUB OPERATIONS, INC., CCA CLUB             Case No. CGC-19-576620]
21   OPERATIONS HOLDING, LLC, CLUBCORP
     USA, INC., CLUBCORP ALISO VIEJO             Case Filed:     6/11/2019
22   HOLDING CORP., BERNARDO HEIGHTS
     COUNTRY CLUB, CLUBCORP BRAEMAR
23   COUNTRY CLUB, INC., CLUBCORP CREST
     COUNTRY CLUB, INC., CLUBCORP
24   CENTER CLUB, INC., CLUBCORP COTO
     PROPERTY HOLDINGS, INC., CLUBCORP
25   CROW CANYON MANAGEMENT CORP.,
     CLUBCORP DESERT FALLS COUNTRY
26   CLUB, INC., GRANITE BAY GOLF CLUB,
     INC., A/K/A CLUBCORP GRANITE BAY
27   MANAGEMENT, INC., CLUBCORP IW
     GOLF CLUB, INC., CLUBCORP MISSION
28   HILLS COUNTRY CLUB, INC., CLUBCORP
     PORTER VALLEY COUNTRY CLUB, INC.,
                                                               NOTICE OF REMOVAL OF ACTION
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 1   SANTA ROSA GOLF & COUNTRY CLUB,
     CLUBCORP SPRING VALLEY LAKE
 2   COUNTRY CLUB, INC., CLUBCORP TEAL
     BEND GOLF CLUB, INC., CLUBCORP
 3   TURKEY CREEK GOLF CLUB, INC.,
     CLUBCORP SYMPHONY TOWERS CLUB,
 4   INC., CITY CLUB OF LOS ANGELES, INC.;
     A/K/A CLUBCORP BUNKER HILL CLUB,
 5   INC., SILICON VALLEY CAPITAL CLUB
     A/K/A CLUBCORP SAN JOSE CLUB, INC.,
 6   MORGAN RUN CLUB & RESORT, EMPIRE
     RANCH GOLF CLUB, INC., OLD RANCH
 7   COUNTRY CLUB, LLC, SHADOWRIDGE
     GOLF CLUB, INC., ROYAL DRIVE
 8   COUNTRY CLUB, INC., MCC
     MANAGEMENT CORPORATION,
 9   LAKEVIEW CITY CLUB, INC., SAN
     FRANCISCO TENNIS CLUB, INC., LOS
10   GATOS TENNIS CLUB, INC., MARINA
     CLUB MANAGEMENT, INC., CLUBCORP
11   AIRWAYS GOLF CLUB, INC., and DOES 1-
     100,
12
                                 Defendants.
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 1           TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
 2   DISTRICT OF CALIFORNIA AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, this action is
 4   hereby removed from the Superior Court of the State of California, County of San Francisco, to the United
 5   States District Court for the Northern District of California. Removal is proper on the following grounds:
 6   I.      REMOVAL IS TIMELY
 7           1.         Plaintiff the State of California (“Plaintiff”), filed its Complaint against Defendants in the
 8   Superior Court of the State of California, County of San Francisco, Case No. CGC-19-576520, on June
 9   11, 2019 (“the State Court Action”).
10           2.         All named Defendants in this action are represented by undersigned counsel, have received
11   Plaintiff’s Original Complaint (“Complaint”) within the 30 days prior to the filing of this Notice of
12   Removal, and now consent to the removal of this action with the reservation of all rights and defenses. 28
13   U.S.C. § 1446(b)(2)(B).          Defendants are: CLUBCORP HOLDINGS, INC.; CLUBCORP CLUB
14   OPERATIONS, INC.; CCA CLUB OPERATIONS HOLDINGS, LLC, erroneously sued as CCA CLUB
15   OPERATIONS HOLDING, LLC, CLUBCORP USA, INC.; CLUBCORP ALISO VIEJO HOLDING
16   CORP.; BERNARDO HEIGHTS CC, LLC erroneously sued as BERNARDO HEIGHTS COUNTRY
17   CLUB; CLUBCORP BRAEMAR COUNTRY CLUB, INC.; CLUBCORP CANYON CREST
18   COUNTRY CLUB, INC. erroneously sued as CLUBCORP CREST COUNTRY CLUB, INC.;
19   CLUBCORP CENTER CLUB, INC.; CLUBCORP COTO PROPERTY HOLDINGS, INC.;
20   CLUBCORP CROW CANYON MANAGEMENT CORP.; CLUBCORP DESERT FALLS COUNTRY
21   CLUB, INC.; CLUBCORP GRANITE BAY MANAGEMENT, INC. erroneously sued as GRANITE
22   BAY GOLF CLUB, INC. A/K/A CLUBCORP GRANITE BAY MANAGEMENT, INC.; CLUBCORP
23   IW GOLF CLUB, INC.; CLUBCORP MISSION HILLS COUNTRY CLUB, INC.; CLUBCORP
24   PORTER VALLEY COUNTRY CLUB, INC.; SANTA ROSA CC, LLC erroneously sued as SANTA
25   ROSA GOLF & COUNTRY CLUB; CLUBCORP SPRING VALLEY LAKE COUNTRY CLUB, INC.;
26   CLUBCORP TEAL BEND GOLF CLUB, INC.; CLUBCORP TURKEY CREEK GOLF CLUB, INC.;
27   CLUBCORP SYMPHONY TOWERS CLUB, INC.; CLUBCORP BUNKER HILL CLUB, INC.
28   erroneously sued as CITY CLUB OF LOS ANGELES, INC., A/K/A CLUBCORP BUNKER HILL

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 1   CLUB, INC.; CLUBCORP SAN JOSE CLUB, INC. erroneously sued as SILICON VALLEY CAPITAL
 2   CLUB A/K/A CLUBCORP SAN JOSE CLUB, INC.; CLUBCORP GOLF OF CALIFORNIA, LLC
 3   erroneously sued as MORGAN RUN CLUB & RESORT; EMPIRE RANCH, LLC erroneously sued as
 4   EMPIRE RANCH GOLF CLUB, INC.; SEQUOIA MANAGEMENT SERVICES LLC erroneously sued
 5   as OLD RANCH COUNTRY CLUB, LLC; CLUBCORP SHADOW RIDGE GOLF CLUB, INC.
 6   erroneously sued as SHADOWRIDGE GOLF CLUB, INC.; OK ROYAL DRIVE COUNTRY CLUB,
 7   INC. erroneously sued as ROYAL DRIVE COUNTRY CLUB, INC.; OK MCC MANAGEMENT CORP.
 8   erroneously sued as MCC MANAGEMENT CORPORATION; OK LAKEVIEW CLUB, INC.
 9   erroneously sued as LAKEVIEW CITY CLUB, INC.; OK PRE 2.1.09 OWNER/OPERATOR OF SAN
10   FRANCISCO TENNIS CLUB erroneously sued as SAN FRANCISCO TENNIS CLUB, INC.; OK LOS
11   GATOS TENNIS, INC. erroneously sued as LOS GATOS TENNIS CLUB, INC.; OK MARINA CLUB
12   MANAGEMENT, INC. erroneously sued as MARINA CLUB MANAGEMENT, INC.; and CLUBCORP
13   AIRWAYS GOLF INC. erroneously sued as CLUBCORP AIRWAYS GOLF CLUB, INC.
14           3.         Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process, pleadings, and
15   orders served on Defendants in the State Court Action as of the date of this filing are attached collectively
16   to this Notice of Removal as Exhibit A and incorporated herein by reference.
17           4.         On June 11, 2019, all Defendants received by e-mail a form Notice of Acknowledgment of
18   Receipt from Plaintiff’s counsel attaching a copy of the Summons and the Complaint, Civil Case Cover
19   Sheet, Notice of Case Management Conference and Alternate Dispute Resolution Package.
20           5.         Defendants executed and returned the Notice and Acknowledgment of Receipt on June 11,
21   2019. Under California Code of Civil Procedure Section 415.30(a), service is “deemed complete on the
22   date a written acknowledgment of receipt of summons is executed, if such acknowledgment thereafter is
23   returned to the sender.”
24           6.         This Notice of Removal is timely because it is filed within 30 days of June 11, 2019. 28
25   U.S.C. § 1446(b); Fed. R. Civ. P. 6(a)(1); see also Prado v. Dart Container Corp. of California, 373 F.
26   Supp. 3d 1281, 1285 (N.D. Cal. 2019).
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 1   II.     SUMMARY OF ALLEGATIONS AND BASES FOR REMOVAL
 2           7.         Removal is proper pursuant to 28 U.S.C. §§ 1441 and 1446 because this Court has original
 3   subject matter jurisdiction over this action under 28 U.S.C. § 1331.
 4           8.         This case and all claims in this case arise under federal common law—meaning that the
 5   action itself arises under the laws of the United States. 28 U.S.C. § 1331 (“The district courts shall have
 6   original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United
 7   States.”); Illinois v. City of Milwaukee, Wis., 406 U.S. 91, 100 (1972) (“We see no reason not to give
 8   ‘laws’ its natural meaning, and therefore conclude that § 1331 jurisdiction will support claims founded
 9   upon federal common law as well as those of a statutory origin.”) (internal citation omitted); Downey v.
10   Fed. Express Corp., No. C-92-4956 MHP, 1993 WL 463283, at *5 (N.D. Cal. Oct. 29, 1993) (citing
11   National Farmers Union Ins. Cos. v. Crow Tribe of Indians, 471 U.S. 845, 850 (1985)) (“[u]nder 28
12   U.S.C. § 1331 this court has federal question jurisdiction over federal common law claims even
13   though no specific statute is involved.”) (emphasis added).
14           9.         Plaintiff brought this suit against Defendants—including owners and operators of various
15   private golf country clubs and business clubs—on a theory that Plaintiff has the right, power, and
16   jurisdiction to escheat certain allegedly abandoned membership initiation deposits, and that such
17   membership initiation deposits are subject to escheat under California’s unclaimed property law.1 (Compl.
18   ¶¶ 6, 61.) Plaintiff’s two causes of action, one under California’s Unfair Competition Law (Business and
19   Professions Code section 17200 et seq.) (“UCL”), and the other under the California False Claims Act
20   (Code of Civil Procedure Section 12650 et seq.) (“CFCA”), each depend on the claim that membership
21   initiation deposits constitute unclaimed property under California’s unclaimed property laws (Code of
22   Civil Procedure Section 1500 et seq.). The CFCA cause of action, for example, alleges Defendants
23   violated the CFCA by filing false holder reports – these are annual unclaimed property filings filed with
24   the State Controller’s Office (“SCO”). (Compl. ¶ 73.) Plaintiff alleges the holder reports are false because
25   they did not include membership initiation deposits. (Compl. ¶ 72.) Thus, Plaintiff necessarily alleges that
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27     In this context, the “escheat” of property means that California would take custody of the property on
     behalf of the owners, who may then reclaim the property at any time. Cal. Code Civ. Proc. § 1572(a)(3).
28   (Compl. ¶¶ 3-6.) All state unclaimed property laws are custodial escheat laws rather than “true” escheat
     laws, under which the state takes title to the property.
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 1   the membership initiation deposits are subject to California’s unclaimed property laws. (Compl. ¶ 71.)
 2   Likewise, Plaintiff’s UCL cause of action – which is based on the allegations that plaintiffs unlawfully
 3   failed to return or escheat membership initiation deposits, that Defendants filed holder reports that
 4   understate the amount of unclaimed property by omitting the membership initiation deposits and that
 5   Defendants violated the CFCA by filing false holder reports – necessarily relies on the allegations that the
 6   membership initiation deposits are subject to California’s unclaimed property laws. (Compl. ¶¶ 61, 66.)
 7   As a result, Plaintiff seeks a judgment that would require Defendants to (1) return past-due deposits to
 8   members; (2) be enjoined from engaging in violations of the UCL; and (3) pay statutory penalties, interest
 9   and attorneys’ fees (Comp. ¶ 6; see id. at p. 14.)
10           10.        The underpinning of Plaintiff’s claims—alleging violations of California’s unclaimed
11   property laws (Code of Civil Procedure Section 1500 et seq.)—necessarily depends on the resolution of
12   actually disputed and substantial questions of federal common law, as established by the United States
13   Supreme Court in a line of related decisions in Texas v. New Jersey, 379 U.S. 674 (1965), Pennsylvania
14   v. New York, 407 U.S. 206 (1972), and Delaware v. New York, 507 U.S. 490 (1993). In particular, before
15   a State can escheat unclaimed intangible property, the State “bear[s] the burden of establishing”
16   that it has jurisdiction to escheat the property under federal common law. Pennsylvania v. New York,
17   407 U.S. at 213 (emphasis added). Thus, until Plaintiff pleads and proves that the State has the jurisdiction
18   to escheat under federal common law, California’s unclaimed property laws cannot apply to the
19   membership initiation deposits at issue in the Complaint.
20           11.        If, under the federal common law giving rise to the claims at issue in the Complaint,
21   Plaintiff is unable to establish that the State has the jurisdiction to escheat the membership initiation
22   deposits at issue, then all of Plaintiff’s claims necessarily fail as a matter of federal law.
23           12.        A claim “aris[es] under” federal law if “a well-pleaded complaint establishes either that
24   federal law creates the cause of action or that the plaintiff’s right to relief necessarily depends on resolution
25   of a substantial question of federal law.” Empire Healthchoice Assurance, Inc. v. McVeigh, 547 U.S. 677,
26   689-90 (2006) (quoting Franchise Tax Bd. of Cal. v. Constr. Laborers Vacation Trust for S. Cal., 463
27   U.S. 1, 27–28 (1983)). As far as the latter situation, “federal-question jurisdiction will lie over state-law
28   claims that implicate significant federal issues” or “turn on substantial questions of federal law.” Grable

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 1   & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005). In such cases, like this one,
 2   federal-question jurisdiction exists when the “state-law claim necessarily raise[s] a stated federal issue,
 3   actually disputed and substantial, which a federal forum may entertain without disturbing any
 4   congressionally approved balance of federal and state judicial responsibilities.” Id. at 314. This rule of
 5   decision “captures the commonsense notion that a federal court ought to be able to hear claims recognized
 6   under state law that nonetheless turn on substantial questions of federal law, and thus justify resort to the
 7   experience, solicitude, and hope of uniformity that a federal forum offers on federal issues.” Id. at 312.
 8           13.        It is axiomatic that federal common law is developed through decisions of federal courts.
 9   See Mass. Mut. Life Ins. Co. v. Russell, 473 U.S. 134, 156-57 (1985) (Brennan, J., concurring); see also
10   D’Oench, Duhme & Co. v. FDIC, 315 U.S. 447, 472 (1942) (Jackson, J., concurring) (“federal courts are
11   free to apply the traditional common-law technique of decision and draw upon sources of the common
12   law”); City of Milwaukee, 406 U.S. at 105 n.6 (“[W]here there is an overriding federal interest in the need
13   for a uniform rule of decision or where the controversy touches basic interests of federalism, we have
14   fashioned federal common law.”).2
15           14.        In Texas v. New Jersey, the United States Supreme Court established rules to determine
16   when a State has the “right and power”—i.e., the jurisdiction—to escheat unclaimed intangible property.
17   379 U.S. at 675, 680. The Court pronounced what has become known as the “primary rule”: “each item
18   of property in question . . . is subject to escheat only by the State of the last known address of the creditor,
19   as shown by the debtor’s books and records.” Id. at 681-82. The Court also established a “secondary
20   rule”: if the last known address of the creditor is unknown, then the “State of corporate domicile” of “the
21   debtor” has the jurisdiction to escheat property. Id. at 682.
22           15.        Subsequently, in Delaware v. New York, the Supreme Court explained that the
23   jurisdictional escheat rules created in Texas v. New Jersey “cannot be severed from the law that creates
24   the underlying creditor-debtor relationships.” 507 U.S. at 503. The Court thus held that disputes regarding
25   “the right to escheat intangible personal property” must be resolved in the following three steps:
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27     A federal forum and the application and development of a uniform body of federal common law is
     particularly appropriate where, as here, “the question is whether the financial institution gets the money
28   or one of several competing state governments.” See, e.g., Taylor v. Westly, 402 F.3d 924, 926 (9th Cir.
     2005).
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 1                      First, we must determine the precise debtor-creditor relationship as defined
                        by the law that creates the property at issue. Second, because the property
 2                      interest in any debt belongs to the creditor rather than the debtor, the
                        primary rule gives the first opportunity to escheat to the State of “the
 3                      creditor’s last known address as shown by the debtor’s books and records.”
                        Finally, if the primary rule fails because the debtor’s records disclose no
 4                      address for a creditor or because the creditor’s last known address is in a
                        State whose laws do not provide for escheat, the secondary rule awards the
 5                      right to escheat to the State in which the debtor is incorporated.
 6   507 U.S. at 499-500 (internal citation omitted).

 7           16.        The jurisdictional escheat rules set forth in Texas v. New Jersey and Delaware v. New York

 8   constitute federal common law. See City of Milwaukee, 406 U.S. at 105-06 (citing Texas v. New Jersey

 9   as an example of federal common law); Marathon Petroleum Corp. v. Sec’y of Fin. for Del., 876 F.3d

10   481, 484 (3d Cir. 2017) (explaining that Supreme Court decisions outlining states’ authority to “escheat

11   abandoned property” have been “[c]onstructed as federal common law”); N.J. Retail Merchants Ass’n v.

12   Sidamon-Eristoff, 669 F.3d 374, 391-93 (3d Cir. 2012) (recognizing that jurisdictional “escheat rules”

13   under Texas v. New Jersey, Pennsylvania v. New York, and Delaware v. New York constitute federal

14   common law). This body of federal common law—which determines whether a state has the right to

15   escheat intangible personal property in any particular case—is not only applicable to “disputes among

16   states,” but also, as here, “directly applicable to disputes between a private individual and a state.”

17   Marathon, 876 F.3d at 494; Am. Petrofina Co. of Tex. v. Nance, 859 F.2d 840, 842 (10th Cir. 1988).

18           17.        In Delaware v. New York, the Supreme Court emphasized the supremacy of federal law in

19   this area with the categorical statement that “no State may supersede” these federal common law rules.

20   507 U.S. at 500 (citation omitted). Thus, a state (here, California) must first establish, as a threshold issue,

21   that it has the jurisdiction to escheat under the federal common law rules. See Pennsylvania v. New York,

22   407 U.S. at 213 (the State first “bear[s] the burden of establishing” that it has jurisdiction to escheat the

23   property under federal common law); Marathon, 876 F.3d at 485, 499-500 (analyzing threshold issue of

24   whether Delaware had “authority to escheat property” under federal common law). Only if the state can

25   make that required showing under federal law will the state’s own unclaimed property laws become

26   applicable to determine if state law requires the escheat of such property.

27           18.        Here, Plaintiff’s “right to relief necessarily depends on resolution of [] substantial

28   question[s] of federal law.” Franchise Tax Bd., 463 U.S. at 28. Those questions are disputed and

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 1   substantial because Plaintiff’s entire case hinges on first establishing that it has the jurisdiction to escheat
 2   the membership initiation deposits that are the subject of the Complaint. More specifically, Plaintiff’s
 3   claims and right to relief turn on the resolution of at least three substantial questions of federal common
 4   law.
 5           19.        First, the Complaint raises a substantial question under federal common law because it is
 6   built on the legal premise that Defendants are holders under California’s unclaimed property laws of
 7   unclaimed property that is reportable to California. (Compl. ¶¶ 57-58.) California’s unclaimed property
 8   law defines a “holder” to include “any person in possession of property subject to this chapter belonging
 9   to another.” Cal. Civ. Proc. Code § 1501(e) (emphasis added). Plaintiff’s legal premise thus ignores the
10   predicate step in determining whether California has jurisdiction to escheat under federal common law.
11   As Delaware v. New York makes clear, the initial step for assessing whether a state has a right to escheat
12   intangible personal property is determining whether there is a “debtor-creditor relationship” and, if so,
13   who the debtor is. 507 U.S. at 499-500; Marathon, 876 F.3d at 499 (“the Supreme Court has noted that
14   the first step in determining the right to escheat property involves a determination of the precise debtor-
15   creditor relationship”) (internal quotations omitted). Thus, Plaintiff must plead with specificity and
16   ultimately prove that there is a “debtor-creditor relationship” with respect to the membership initiation
17   deposits at issue and that each Defendant is a “debtor.”
18           20.        For the membership initiation deposits at issue in this case, the precise debtor-creditor
19   relationship—if one exists at all—is between the club and its member by function of their contractual
20   relationship. (See, e.g., Compl. ¶ 49.) Thus, if there is a debtor-creditor relationship, which Defendants
21   do not concede, then these individual clubs would be the “debtors” with the contractual obligation to
22   their respective club members, if any.
23           21.        By alleging that Defendants are “holders” under California’s unclaimed property laws, and
24   as such are required to escheat the membership initiation deposits, Plaintiff alleges that any Defendants
25   who “are holding” the money at issue must escheat the membership initiation deposits even if the
26   Defendant is not a debtor. (Compl. ¶¶ 57, 63.) In Delaware v. New York, however, “the Court rejected
27   any efforts to loosen or change the [federal common law] rules by broadening the concept of a property-
28   holding ‘debtor.’” Marathon, 876 F.3d at 490. And yet that is exactly what Plaintiff seeks to do here.

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 1           22.        By alleging that Defendants are “holders” of property that must be escheated, Plaintiff thus
 2   ignores the threshold jurisdictional question under federal common law as to whether each Defendant is a
 3   “debtor” to a club member. If Defendants are not “debtors,” then Plaintiff lacks jurisdiction under federal
 4   common law to require Defendants to escheat the membership initiation deposits to California. Put
 5   differently, the definition of a “holder” of unclaimed property under California’s unclaimed property law
 6   does not become relevant until after Plaintiff establishes that it has the right and power to escheat the
 7   membership initiation deposits from Defendants under applicable federal common law. If Plaintiff cannot
 8   make that showing, then Plaintiff lacks the jurisdiction to escheat the membership initiation deposits and
 9   California’s unclaimed property law is not applicable. By extension, California’s CFCA and UCL would
10   also be inapplicable.
11           23.        Second, the Complaint raises a substantial question of whether—under federal common
12   law—there is even a “debt” in relation to the membership initiation deposits that is potentially subject to
13   escheat by California under its unclaimed property laws. (See Compl. ¶ 61 (“ClubCorp’s [Defendants’]
14   membership contracts uniformly required that members pay an initiation deposit, which ClubCorp must
15   return after 30 years. Once that time runs, ClubCorp has a liquidated and certain obligation to repay the
16   money. If ClubCorp is unable to do so, it must escheat the money once the three-year dormancy period
17   has expired. CCP § 1520(a)”). Here again, Plaintiff ignores its burden of first establishing that the State
18   has jurisdiction to escheat these membership initiation deposits under federal common law.
19           24.        This threshold inquiry under federal common law is critical: If there is no debt, then there
20   is no property potentially subject to escheat, and California’s unclaimed property laws cannot apply.
21   Indeed, in Delaware v. New York, the Court stated that “the holder’s legal obligations . . . define[] the
22   escheatable property at issue.” 507 U.S. at 503 (emphasis added); see also Texas v. New Jersey, 379
23   U.S at 680 (referring to the unclaimed property as a “debt” that is a “liability” and the “property of the
24   creditor”).
25           25.        Based on the contractual relationship and course of dealing between a club and its
26   members, and on other applicable laws impacting the debtor-creditor relationship, certain conditions may
27   need to be satisfied before a club member is entitled to return of a membership initiation deposit. For
28   example, the membership initiation deposit is not payable—i.e., a refund is not obtainable—until after the

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 1   stipulated passage of time and the member makes a request or demand to the club. Moreover, a member
 2   may not be entitled to a refund of the membership initiation deposit if the member is in breach of the
 3   membership agreement with the club. The Complaint ignores these and other requirements. Plaintiff thus
 4   entirely skips over the threshold inquiry of whether California has the right to escheat the membership
 5   initiation deposits under federal law, which requires an examination of the “precise” underlying debtor-
 6   creditor relationships between Defendants and their members, and assumes that California’s unclaimed
 7   property law is applicable (and that the membership initiation deposits are escheatable under such law).
 8   Delaware v. New York, 507 U.S. at 499–500. Plaintiff’s requested relief would require Defendants to
 9   recognize its obligation to escheat funds to the State of California even though there is no “debt” owed.
10           26.        Plaintiff’s position is contrary to the federal common law principles set forth in the Texas
11   v. New Jersey line of cases. Under those cases, only the actual “debt” may be claimed by the state—
12   nothing more. Consequently, if no legal obligation to pay exists, then Plaintiff lacks jurisdiction to escheat
13   the membership initiation deposits under federal common law. By extension, Plaintiff’s claims under the
14   CFCA and UCL would also be inapplicable.
15           27.        Third, even if the membership initiation deposits were “debts” and each Defendant were a
16   “debtor,” the Complaint raises another substantial question of federal common law: whether Plaintiff can
17   establish jurisdiction to escheat the membership initiation deposits by showing that the primary rule or the
18   secondary rule is satisfied. Delaware v. New York, 507 U.S. at 499-500 (“[T]he primary rule gives the
19   first opportunity to escheat to the State of ‘the creditor’s last known address as shown by the debtor’s
20   books and records.’ Finally, if the primary rule fails because the debtor’s records disclose no address for
21   a creditor or because the creditor’s last known address is in a State whose laws do not provide for escheat,
22   the secondary rule awards the right to escheat to the State in which the debtor is incorporated.”) (internal
23   citation omitted); see also Pennsylvania v. New York, 407 U.S. at 215-16 (requiring New York to prove
24   that Western Union had no addresses for owners of unclaimed money orders, before New York would
25   have the jurisdiction to escheat under the secondary rule).
26           28.        The Complaint omits any allegations as to whether the primary rule or the secondary rule
27   are satisfied here (indeed, it fails to acknowledge even the existence of these rules), and instead provides
28   figures for the total amount of membership initiation deposits due for return “to all of ClubCorp’s current

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 1   and former members.” (Compl. ¶ 50.) Then, the Complaint, in conclusory fashion, states that Defendants
 2   “retained initiation deposits due for refund to Californians totaling more than $10 million.” (Compl. ¶ 52.)
 3   In the same paragraph, the Complaint appears to define “Californian” as members of clubs in California,
 4   by stating that “initiation deposits are owed to California members and former members.” (Id.) But under
 5   the primary rule, Plaintiff has jurisdiction to escheat only if “the last known address of the creditor, as
 6   shown by the debtor’s books and records,” is in California. Texas, 379 U.S. at 681–82 (emphasis
 7   added).
 8             29.      Indeed, in Texas v. New Jersey, the Court emphasized that “since our inquiry here is not
 9   concerned with the technical domicile of the creditor, and since ease of administration is important where
10   many small sums of money are involved, the address on the records of the debtor, which in most cases
11   will be the only one available, should be the only relevant last-known address.” Id. at 681 n.11
12   (emphasis added). Again, “no State may supersede” these federal common law rules. Delaware, 507
13   U.S. at 500 (citation omitted). By attempting to expand the scope of the primary rule, Plaintiff thus
14   unlawfully seeks to take custody of property that it lacks jurisdiction to escheat under federal law.
15             30.      Furthermore, if Defendants lack a record of the member’s address, then the secondary rule
16   applies only if the legal debtor is incorporated (i.e., domiciled) in the State. Delaware v. New York, 507
17   U.S. at 499-500. However, Plaintiff fails to allege any connection between the members and the State of
18   California beyond the members’ contract with a California club. (Compl. ¶ 52.) Once again, such attempts
19   to circumvent the federal common law jurisdictional escheat rules are prohibited. Delaware, 507 U.S. at
20   500; Marathon, 876 F.3d at 491 (“[T]he two states allowed to escheat under the [federal common law]
21   rules of the Texas cases are the only states that can do so.”).
22             31.      Thus, Plaintiff’s purported right to relief necessarily depends on resolution of substantial
23   and disputed questions of federal common law. Plaintiff has a threshold burden to establish the State’s
24   jurisdiction to escheat. Pennsylvania v. New York, 407 U.S. at 213. Plaintiff cannot prevail on any
25   escheatment claim under California’s unclaimed property law until after Plaintiff has established that (i)
26   each Defendant is a “debtor” under federal common law; (ii) the membership initiation deposits are
27   “debts” under federal common law; and (iii) California has jurisdiction to escheat the membership
28   initiation deposits under either the primary rule or the secondary rule.

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 1           32.        These questions of federal common law—and similar questions of federal common law,
 2   also related to the Texas v. New Jersey rules—are critical, dispositive issues in this case. Plaintiff’s right
 3   to relief necessarily depends on resolution of these substantial questions of federal law.             Empire
 4   Healthchoice, 547 U.S. at 689–90 (quoting Franchise Tax Bd., 463 U.S. at 27–28). Plaintiff cannot prevail
 5   on its claims under California’s unclaimed property laws, unless Plaintiff first prevails on these
 6   substantial, dispositive questions of federal law. Until Plaintiff crosses that threshold, California’s
 7   unclaimed property laws do not even become applicable.
 8           33.        This Court may “entertain [these questions of federal law] without disturbing any
 9   congressionally approved balance of federal and state judicial responsibilities.” Grable & Sons, 545 U.S.
10   at 314. Indeed, because federal common law is developed only through decisions of the federal courts,
11   these questions should be addressed in a federal forum, not in the courts of any individual state. Mass.
12   Mut. Life, 473 U.S. at 156-57; D’Oench, Duhme, 315 U.S. at 472.
13           34.        For the reasons set out above, all of the claims asserted in the Complaint are within this
14   Court’s original federal-question jurisdiction. But even if particular claims were not subject to original
15   federal-question jurisdiction, those claims would be within this Court’s jurisdiction under 28 U.S.C. §
16   1367(a) because they are so related to claims within the Court’s original jurisdiction that they form part
17   of the same case or controversy.
18   III.    THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER
19           35.        Based on the foregoing facts and allegations, this Court has original jurisdiction over this
20   action pursuant to 28 U.S.C. § 1331. Removal of this action is therefore proper under 28 U.S.C. § 1441
21   and § 1446.
22           36.        The United States District Court for the Northern District of California is the appropriate
23   venue for removal pursuant to 28 U.S.C. § 1441(a), because the United States District Court for the
24   Northern District of California is the federal judicial district embracing the San Francisco County Superior
25   Court where the State Court Action was originally filed. 28 U.S.C. § 124(d)(1); 28 U.S.C. § 1441(a).
26           37.        True and correct copies of all process, pleadings, and orders served on Defendants to date
27   are attached collectively to this Notice of Removal as Exhibit A. See 28 U.S.C. § 1446(a).
28           38.        Upon filing this Notice of Removal, Defendants will furnish written notice to Plaintiff’s

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 1   counsel and will file and serve a copy of this Notice with the Clerk of the San Francisco County Superior
 2   Court in accordance with 28 U.S.C. § 1446(d).
 3           39.        In filing this Notice of Removal, Defendants expressly reserve and do not waive any or all
 4   defenses and counterclaims available to them, including their defenses under Rule 12 of the Federal Rules
 5   of Civil Procedure.
 6   IV.     CONCLUSION
 7           Based on the foregoing facts and allegations, this action is hereby removed from the Superior Court
 8   of the State of California, County of San Francisco, to the United States District Court for the Northern
 9   District of California. The undersigned Defendants respectfully request that this Court exercise full
10   jurisdiction over this action to the exclusion of further proceedings in the state court and that this action
11   proceed in this Court as a properly removed action.
12

13   Dated: July 10, 2019                               FOLEY & LARDNER LLP
14
                                                        By: /s/ Thomas F. Carlucci
15                                                          Thomas F. Carlucci
                                                            Jaime Dorenbaum
16
                                                              Attorneys for Defendants
17                                                            CLUBCORP HOLDINGS, INC., et al.
18

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                Superior Court of California, County of San Francisco
                           Alternative Dispute Resolution
                                Information Package



   The plaintiff must serve a copy of the ADR Information Package on each defendant along
  with the complaint. Cross‐complainants must serve a copy of the ADR Information Package
      on any new parties to the action together with the cross‐complaint. (CRC 3.221(c).)

WHAT IS ADR?
Alternative Dispute Resolution (ADR) is the term used to describe the various options available for
settling a dispute without a trial. There are many different ADR processes, the most common forms of
which are mediation, arbitration and settlement conferences. In ADR, trained, impartial people decide
disputes or help parties decide disputes themselves. They can help parties resolve disputes without
having to go to trial.

WHY CHOOSE ADR?
It is the policy of the Superior Court that every long cause, non‐criminal, non‐juvenile case should
participate either in an early settlement conference, mediation, arbitration, early neutral evaluation or
some other alternative dispute resolution process prior to trial. (Local Rule 4.)

ADR can have a number of advantages over traditional litigation:
    ADR can save time. A dispute often can be resolved in a matter of months, even weeks,
       through ADR, while a lawsuit can take years.
    ADR can save money, including court costs, attorney fees, and expert fees.
    ADR encourages participation. The parties may have more opportunities to tell their story than
       in court and may have more control over the outcome of the case.
    ADR is more satisfying. For all the above reasons, many people participating in ADR have
       reported a high degree of satisfaction.

               **Electing to participate in an ADR process does not stop the time period to
                               respond to a complaint or cross‐complaint**

WHAT ARE THE ADR OPTIONS?
The San Francisco Superior Court offers different types of ADR processes for general civil matters. The
programs are described below:

1) MANDATORY SETTLEMENT CONFERENCES
Settlement conferences are appropriate in any case where settlement is an option. The goal of
settlement conferences is to provide participants an opportunity to reach a mutually acceptable
settlement that resolves all or part of a dispute. Mandatory settlement conferences are ordered by the
court and are often held near the date a case is set for trial, although they may be held earlier if
appropriate. A party may elect to apply to the Presiding Judge for a specially set mandatory settlement
conference by filing an ex parte application. See Local Rule 5.0 for further instructions. Upon approval by
the Presiding Judge, the court will schedule the conference and assign a settlement conference officer.


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2) MEDIATION
Mediation is a voluntary, flexible, and confidential process in which a neutral third party facilitates
negotiations. The goal of mediation is to reach a mutually satisfactory agreement that resolves all or
part of a dispute after exploring the interests, needs, and priorities of the parties in light of relevant
evidence and the law.

     (A) MEDIATION SERVICES OF THE BAR ASSOCIATION OF SAN FRANCISCO (BASF), in cooperation
with the Superior Court, is designed to help civil litigants resolve disputes before they incur substantial
costs in litigation. While it is best to utilize the program at the outset of litigation, parties may use the
program at any time while a case is pending. Experienced professional mediators work with parties to
arrive at a mutually agreeable solution. The mediators provide one hour of preparation time and the
first two hours of mediation time. Mediation time beyond that is charged at the mediator’s hourly rate.
BASF pre‐screens all mediators based upon strict educational and experience requirements. Parties can
select their mediator from the panels at www.sfbar.org/mediation or BASF can assist with mediator
selection. BASF staff handles conflict checks and full case management. The success rate for the
program is 67% and the satisfaction rate is 99%. BASF charges an administrative fee of $295 per party.
The hourly mediator fee beyond the first three hours will vary depending on the mediator selected.
Waivers of the fee are available to those who qualify. For more information, call 415‐982‐1600 or email
adr@sfbar.org.

     (B) JUDICIAL MEDIATION PROGRAM provides mediation with a San Francisco Superior Court judge
for civil cases, which include but are not limited to, personal injury, construction defect, employment,
professional malpractice, insurance coverage, toxic torts and industrial accidents. Parties may utilize
this program at any time throughout the litigation process. Parties interested in judicial mediation
should file a Stipulation to Judicial Mediation indicating a joint request for inclusion in the program. A
preference for a specific judge may be indicated. The court will coordinate assignment of cases for the
program. There is no charge. Information about the Judicial Mediation Program may be found by
visiting the ADR page on the court’s website: www.sfsuperiorcourt.org/divisions/civil/dispute‐resolution

    (C) PRIVATE MEDIATION: Although not currently a part of the court’s ADR program, parties may
select any private mediator of their choice. The selection and coordination of private mediation is the
responsibility of the parties. Parties may find mediators and organizations on the Internet. The cost of
private mediation will vary depending on the mediator selected.

     (D) COMMUNITY BOARDS MEDIATION SERVICES: Mediation services are offered by Community
Boards (CB), a nonprofit resolution center, under the Dispute Resolution Programs Act. CB utilizes a
three‐person panel mediation process in which mediators work as a team to assist the parties in
reaching a shared solution. To the extent possible, mediators are selected to reflect the demographics of
the disputants. CB has a success rate of 85% for parties reaching a resolution and a consumer
satisfaction rate of 99%. The fee is $45‐$100 to open a case, and an hourly rate of $180 for complex
cases. Reduction and waiver of the fee are available. For more information, call 415‐920‐3820 or visit
communityboards.org.




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3) ARBITRATION
An arbitrator is a neutral attorney who presides at a hearing where the parties present evidence through
exhibits and testimony. The arbitrator applies the law to the facts of the case and makes an award based
upon the merits of the case.

     (A) JUDICIAL ARBITRATION
When the court orders a case to arbitration it is called "judicial arbitration". The goal of arbitration is to
provide parties with an adjudication that is earlier, faster, less formal, and usually less expensive than a
trial. Pursuant to CCP 1141.11, all civil actions in which the amount in controversy is $50,000 or less, and
no party seeks equitable relief, shall be ordered to arbitration. (Upon stipulation of all parties, other
civil matters may be submitted to judicial arbitration.) An arbitrator is chosen from the court’s
arbitration panel. Arbitrations are generally held between 7 and 9 months after a complaint has been
filed. Judicial arbitration is not binding unless all parties agree to be bound by the arbitrator's decision.
Any party may request a trial within 60 days after the arbitrator’s award has been filed. Local Rule 4.1
allows for mediation in lieu of judicial arbitration, so long as the parties file a stipulation to mediate
after being assigned to judicial arbitration. There is no cost to the parties for judicial arbitration.

    (B) PRIVATE ARBITRATION
Although not currently a part of the court's ADR program, civil disputes may also be resolved through
private arbitration. Here, the parties voluntarily consent to arbitration. If all parties agree, private
arbitration may be binding and the parties give up the right to judicial review of the arbitrator's decision.
In private arbitration, the parties select a private arbitrator and are responsible for paying the
arbitrator's fees.

HOW DO I PARTICIPATE IN ADR?
Litigants may elect to participate in ADR at any point in a case. General civil cases may voluntarily enter
into the court’s or court‐affiliated ADR programs by any of the following means:
      Filing a Stipulation to ADR: Complete and file the Stipulation form (attached to this packet and
         available on the court’s website); or
      Indicating your ADR preferences on the Case Management Statement (available on the court’s
         website); or
      Contacting the court’s ADR Department (see below), the Bar Association of San Francisco’s ADR
         Services, or Community Boards.

For more information about ADR programs or dispute resolution alternatives, contact:

                               Superior Court Alternative Dispute Resolution
                        400 McAllister Street, Room 103‐A, San Francisco, CA 94102
                                                415‐551‐3869
       Or, visit the court’s ADR page at www.sfsuperiorcourt.org/divisions/civil/dispute‐resolution

TO PARTICIPATE IN ANY OF THE COURT'S ADR PROGRAMS, PLEASE COMPLETE AND FILE THE ATTACHED
STIPULATION TO ADR AND SUBMIT IT TO THE COURT. YOU MUST ALSO CONTACT BASF OR COMMUNITY
BOARDS TO ENROLL IN THEIR LISTED PROGRAMS. THE COURT DOES NOT FORWARD COPIES OF
STIPULATIONS TO BASF OR COMMUNITY BOARDS.




 ADR-1 10/18                                                                                           Page | 3
                        Case 3:19-cv-03972-WHA Document 1 Filed 07/10/19 Page 40 of 75
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and address)                                                       FOR COURT USE ONLY




TELEPHONE NO.:

ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
400 McAllister Street
San Francisco, CA 94102-4514

PLAINTIFF/PETITIONER:


DEFENDANT/RESPONDENT:


             STIPULATION TO ALTERNATIVE DISPUTE RESOLUTION (ADR)                             CASE NUMBER:

                                                                                                               DEPARTMENT 610

1)   The parties hereby stipulate that this action shall be submitted to the following ADR process:
□        Mediation Services of the Bar Association of San Francisco (BASF) - Experienced professional mediators, screened
         and approved, provide one hour of preparation and the first two hours of mediation time for a BASF administrative fee of
         $295 per party. Mediation time beyond that is charged at the mediator's hourly rate. Waivers of the administrative fee are
         available to those who qualify. BASF assists parties with mediator selection, conflicts checks and full case management.
         www.sfbar.org/mediation
□        Mediation Services of Community Boards (CB) – Service in conjunction with DRPA, CB provides case development and one
         three-hour mediation session. Additional sessions may be scheduled. The cost is $45-$100 to open a case, and an hourly rate
         of $180 for complex cases. Reduction and waiver of the fee are available to those who qualify. communityboards.org
□        Private Mediation - Mediators and ADR provider organizations charge by the hour or by the day, current market rates. ADR
         organizations may also charge an administrative fee. Parties may find experienced mediators and organizations on the Internet.
□        Judicial Arbitration - Non-binding arbitration is available to cases in which the amount in controversy is $50,000 or less and
         no equitable relief is sought. The court appoints a pre-screened arbitrator who will issue an award. There is no fee for
         this program. www.sfsuperiorcourt.org/divisions/civil/dispute-resolution
□        Judicial Mediation - The Judicial Mediation program offers mediation in civil litigation with a San Francisco Superior
         Court judge familiar with the area of the law that is the subject of the controversy. There is no fee for this program.
         www.sfsuperiorcourt.org/divisions/civil/dispute-resolution

         Judge Requested (see list of Judges currently participating in the program): ________________________________
         Date range requested for Judicial Mediation (from the filing of stipulation to Judicial Mediation):
         ☐30-90 days ☐ 90-120 days ☐ Other (please specify)

□        Other ADR process (describe) ________________
2)   The parties agree that the ADR Process shall be completed by (date): ____________________________
3)   Plaintiff(s) and Defendant(s) further agree as follows:




Name of Party Stipulating                                                   Name of Party Stipulating


Name of Party or Attorney Executing Stipulation                             Name of Party or Attorney Executing Stipulation


Signature of Party or Attorney                                              Signature of Party or Attorney

□ Plaintiff ☐ Defendant ☐ Cross-defendant                                   ☐ Plaintiff ☐        Defendant     ☐    Cross-defendant

Dated:                                                                      Dated:

                                              □    Additional signature(s) attached


ADR-2 10/18                   STIPULATION TO ALTERNATIVE DISPUTE RESOLUTION
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                       6/17/19


Thomas F. Carlucci for all Defendants
                             Case 3:19-cv-03972-WHA Document 1 Filed 07/10/19 Page 42 of 75
                                                                                                                                                                   CM-015
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Bar number and address):                                                         FOR COURT IJSE ONL Y
      Courtney Towle, SBN 221698
      455 Golden Gate Ave., Suite 11000
      San Francisco, CA 94102

                 TELEPHONE NO     '
                                       I 5-5 1 0-3537        FAx NO (Oplionaf/ 415-703-5480                                        ELECTRONICALLY
     E-MAILADDREss (DPfionafl         Email: Cuurtney.tOWje(4dcj.Ca.gOV                                                                FILED
            ATTDRNEYFDR(Name/         Popple Of the State Of CalifOrnia                                                            Superior Court of California,
                                                                                                                                    County of San Francisco
     sUPERIQR CDURT QF CALIFDRNIA, CDUNTY QF San                         Francisco
                sTREETADDREss         400 McAllistcr St,                                                                               06/17/2019
                                                                                                                                    Clerk of the Court
               MAILINGADDRESS                                                                                                         BY: JUDITH NUNEZ
               c(TYAND zip coDE       San Francisco, CA 94102-4514                                                                               Deputy Clerk
                   BRAND ~ NAME       Civic Center Courthouse
                                                                                                               CASE NUMBER
           PLAINTIFF/PETITIQNER:          1'cople     of the   State   of California
                                                                                                                                     CGC-19-576620
 DEFENDANT/REsPQNDENT:                    ClubCorp Holdings, Inc., et al.                                      JUDICIAL OFFICE ~



                                                                                                               DEPT
                                          NOTICE OF RELATED CASE


                                                of filing, a/I cases related to the case referenced above.
               in chronological order according to date
                                                                                                                      'dentify,




       a.     Titie: Betty Ycc v. ClubCorp Holdings, Inc. et al.
       b      Case number:            CGC-19-576314
       c. Court:       ~d        same as above
                                 other state or federal court (name and address):
       d.
       e

       f.
              Department
             Case type:
              Filing date:
                             H         limited civil HV

                             May 28, 2019
                                                           unlimited civil   ~       probate   C] family law    ~                 other (specify):


      g.
      h.
              Has this case been designated or determined as "complex?"                   ~
              Relationship of this case to the case referenced above (check a/I that app(y):
                                                                                                Yes   Hy       No


                       involves the same parties and is based on the same or similar claims.
                       arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                       the same or substantially identical questions of law or fact.
                       involves claims against, title to, possession of, or damages to the same property.
                       is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                              Additional explanation is attached in attachment 1h
       i.    Status of case:
                       pending
                       dismissed        ~
                       disposed of by judgment
                                               with       ~     without prejudice



2.     a,     Title:
       b.     Case number:
       c. Court:       ~         same as above
                                 other state or federal court (name and address);
      d. Department:

                                                                                                                                                                    Page I of 3
Form Approved for Optional Use                                                                                                                    Cal. Rules of Court, rute 3 300
  Judioal Counol of California                                   NOTICE OF RELATED CASE                                                                    www oourtinfo oa gov
   CM-013 IRev July I, 200(]
                                  Case 3:19-cv-03972-WHA Document 1 Filed 07/10/19 Page 43 of 75
                                                                                                                                                   CM-015
     PLAINTIFF/PETITIQNER:                  People      of the   State   of California                           CASE NUMBER


  DEFENDANT/REsPQNDENT:                     CluhCorp Holdings, Inc., et al.                                                    CGC-19-576620

2. (continued)

             e. Case type:

             f.     Filing date:
                                     H     limited civil   ~      unlimited civil   ~    probate   ~       family law    ~      other (specify):


             g.
             h.
                    Has this case been designated or determined as "complex?"                ~
                    Relationship of this case to the case referenced above (check a// that app/y):
                                                                                                     yes      H         No


                              involves the same parties and is based on the same or similar claims.
                              arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                              the same or substantially identical questions of law or fact.
                             involves claims against, title to, possession of, or damages to the same property.
                             is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.

                                     Additional explanation is attached in attachment 2h
             i.    Status of case:
                             pending
                             dismissed      ~
                             disposed of by judgment
                                                    with    ~       without prejudice



      a.          Title:
      b.          Case number:
      c Court:             ~         same asabove
                                     other state or federal court (name and address):
      d. Department:
     e. Case type:

      f.      Filing date:
                                  H      limited ciwl      H      unlimited civil   ~    probate   ~       family law    ~     other (specify):


     g.
     h.
                  Has this case been designated or determined as "complex?"                ~
                  Relationship of this case to the case referenced above (check a/I that app/y)/
                                                                                                   Yes     M       No


                           involves the same partIes and is based on the same or similar claims.
                           arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                           the same or substantially identical questions of law or fact.
                           involves claims against, title to, possession of, or damages to the same property.
                           is likely for other reasons to require substantial duplication   of judicial resources if heard by different judges.
                                   Additional explanation is attached in attachment sh
        i.    Status of case:
                           pending
                           dismissed      ~      with
                           disposed of by judgment
                                                           C]     without prejudice



4.   ~               Additional related cases are described in Attachment 4. Number of pages attached



Date:        June 17, 2019

Courtney Towle
                    ITYPE OR PRINT NAME OF PARTY OR ATTORNEY)                                            /SIGNATURE OF PARTY OR ATTORNEY)

CM-015 IRsv July       I, 200TI                                                                                                                    Pggu
                                                                  NOTICE OF. RELATED CASE                                                                 2   Of 3
                                Case 3:19-cv-03972-WHA Document 1 Filed 07/10/19 Page 44 of 75
                                                                                                                                                CM-015
       PLAINTIFF/PETITIQNER                  People   of the   State   of California                          CASE NUMBER


     oEFENDANTJREsPONDENT:                   ClubCorp Holdings, Inc., et al.                                                CGC-19-576620

                                                   PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                                 NOTICE OF RELATED CASE
    (NOTE) You cannot serve the Notice of Related Case ifyou are a partyin the action. The person who served the notice must
    complete this proof of service. The notice must be served on ail known parties in each related action or proceeding.)

1,     I am at least 18 years old and nota party to this action.              I   am a resident of or employed in the county where the mailing took
       place, and my residence or business address is (specify):
      455 Golden Gate Avenue, Suite 11000, San Francisco, CA 94102

2.     Iserved a copy of the Notice of Related Case by enclosing it in a sealed envelope with first-class postage fully
       prepaid and (check one):
       a.   W        deposited the sealed envelope with the United States Postal Service.
       b. ~V         placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
                     with which I am readily familiar. On the same day correspondence is placed for collection and mailing, it is
                     deposited in the ordinary course of business with the United States Postal Service.
3. The Notice        of Related Case was mailed:
      a.     on (daie): June 17, 2019
       b.    from (ciiy and state): San Francisco, CA


4.    The envelope was addressed and mailed as follows:
       a. Name of person served:                                              c. Name     of person served:
             Thomas F Carlucci, Foley                 & Lardner LLP                S. Michele Inan and Jay Russell
             Street address: 555            California St., Ste. 1700              Street address: 455 Golden Gate Ave., Ste.        11000
             City: San          Francisco                                          City: San   Francisco
             State and zip code.       CA 94104-1520                               State and zip code: CA, 94102

       b     Name of person served:                                           d. Name of person served:

             Street address:                                                       Street address:
             City:                                                                 City:
             State and zip code:                                                   State and zip code:

            Names and addresses of additional persons served are attached. (You may use form POS-030(P).)

I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:       June 17, 2019


Michelle Dubonnet
                            (TYPE OR PRINT NAME OF DECLARANT)                                            (SIGNATURE OF DECLARANT)




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